 Case 4:21-cv-00033-ALM Document 9 Filed 03/16/21 Page 1 of 3 PageID #: 515



                    UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                          SHERMAN DIVISION

         Timothy Jackson,

                               Plaintiff,

         v.

         Laura Wright, Milton B. Lee, Melisa
                                                    Case No. 4:21-cv-00033-ALM
         Denis, Mary Denny, Daniel Feehan,
         A.K. Mago, Carlos Munguia, and G.
         Brint Ryan, each in their official
         capacities as members of the Board of
         Regents for the University of North
         Texas System; Rachel Gain; Ellen
         Bakulina; Andrew Chung; Diego
         Cubero; Steven Friedson; Rebecca
         Dowd Geoffroy-Schwinden;
         Benjamin Graf; Frank Heidlberger;
         Bernardo Illari; Justin Lavacek;
         Peter Mondelli; Margaret Notley;
         April L. Prince; Cathy Ragland;
         Gillian Robertson; Hendrik Schulze;
         Vivek Virani; and Brian F. Wright,
         Defendants.



              AMENDED CERTIFICATE OF SERVICE CONCERNING PLAINTIFF'S
                          MOTION TO EXPEDITE (DK#7)

       On March 9, 2021, Plaintiff, through counsel, filed his Motion to Expedite Discovery

or, in the Alternative, to Perpetuate Testimony (Motion to Expedite). Dk#7.

       At the time of filing, counsel to Defendants, Matthew Bohuslav, had not yet filed an

appearance in the above-caption case. Attorney Bohuslav only appeared through filing

Defendant's Motion to Dismiss on March 15, 2021. Dk#8. Therefore, service was not

perfected through the CM/ECF system.




                                             1
 Case 4:21-cv-00033-ALM Document 9 Filed 03/16/21 Page 2 of 3 PageID #: 516




       Attorney Bohuslav and Plaintiff's Attorney Michael Thad Allen conferred on March

16, 2021 concerning this unperfected service. Attorney Bohuslav agreed in writing to

accept service by email. On March 16, 2021, undersigned counsel served by email all

papers filed as part of Plaintiff's Motion to Expedite.

       Undersigned counsel therefore certifies that Plaintiff's Motion to Expedite (Dk#8)

has been served according to Fed. R. Civ. P. 5(b)(F).

       Given the date that service was perfected, the deadline to respond to Plaintiff's

Motion to Expedite should therefore run from March 16, 2021.

                                                   Respectfully submitted,

        DATE: March 16, 2021                       /s/Michael Thad Allen
                                                   Michael Thad Allen, Esq.
                                                   D. Conn. Bar No. CT29813
                                                   admitted pro hac vice
                                                   Lead Attorney
                                                   ALLEN LAW, LLC
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                                                   for PLAINTIFF




                                               2
Case 4:21-cv-00033-ALM Document 9 Filed 03/16/21 Page 3 of 3 PageID #: 517




                                CERTIFICATE OF SERVICE

I hereby certify that on the date specified in the caption of this document, I electronically
filed the foregoing with the Clerk of Court, to be served on all parties of record via the
CM/ECF system.

                                                  /s/Michael Thad Allen
                                                  Michael Thad Allen




                                              3
